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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 STERN, LAVINTHAL & FRANKENBERG, LLC                            Order Filed on October 29,
 105 Eisenhower Parkway, Suite 302                            2019 by Clerk, U.S. Bankruptcy
                                                               Court - District of New Jersey
 Roseland, NJ 07068
 Phone: (973) 797-1100
 Fax: (973) 228-2679
 Attorney for Secured Creditor,
 Nationstar Mortgage LLC d/b/a Mr. Cooper
 By Maria Cozzini, Esq.

 In Re:                                                 Case No.: 19-24000-SLM

 Evangelia Maliarakis aka Evangelia M Maliarakis        Chapter: 13
 aka Eva Vidal aka Eva Maliarakis Vidal,
                                                        Hearing Date:

               Debtor(s).                               Judge: Stacey L. Meisel




                  ORDER RESOLVING MOTION TO VACATE STAY
                             WITH CONDITIONS

The relief set forth on the following pages, numbered two (2) through three (3) is ORDERED




DATED: October 29, 2019
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Vidal
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Caption: Order Resolving Motion to Vacate Stay with Conditions

Applicant:                              Nationstar Mortgage LLC d/b/a Mr. Cooper
Applicant’s Counsel:                    Stern Lavinthal & Frankenberg, LLC
Debtor’s Counsel:                       Scott D. Sherman, Esq.
Property Involved (“Collateral”):       460 Edgewater Road, Fairview, NJ

Relief sought:
   9 Motion for relief from the automatic stay
         Motion to dismiss
         Motion for prospective relief to prevent imposition of automatic stay
        against the collateral by debtor’s future bankruptcy filings

        For good cause shown, it is ORDERED that Applicant’s Motion(s) is (are) resolved,
subject to the following conditions:

   1. Status of post-petition arrearages:

        x   The Debtor is overdue for 3 months, from August to October.

        x   The Debtor is overdue for 3 payments at $1,932.66 per month.

        x   Less Funds held in debtor(s) suspense $1,578.12

        x   Movant acknowledges receipt of $1,932.66 after the motion was filed.

        Total Arrearages Due $2,287.20.

   2. Debtor must cure all post-petition arrearages, as follows:

        x   Beginning on November 1, 2019, regular monthly mortgage payments shall continue
            to be made in the amount $1,932.66.
        x   Beginning on November 1, 2019, additional monthly cure payments shall be made in
            the amount of $381.20 for 6 months.
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     3.   Payments to the Secured Creditor shall be made to the following address(es):

     9 Immediate payment:                Nationstar Mortgage LLC
                                         P.O. Box 619094
                                         Dallas, TX 75261-9741


     9 Regular monthly payment:          Nationstar Mortgage, LLC
                                         P.O. Box 619094
                                         Dallas, TX 75261-9741

     9 Monthly cure payment:             Nationstar Mortgage, LLC
                                         P.O. Box 619094
                                         Dallas, TX 75261-9741

     4.   In the event of Default:

     9 If the Debtors fail to make the immediate payment specified above or fail to make any
          regular monthly payment or the additional monthly cure payment within thirty (30) days
          of the date the payments are due, then the Secured Creditor may obtain an Order
          Vacating the Automatic Stay as to the Collateral by filing, with the Bankruptcy Court, a
          Certification specifying the Debtors’ failure to comply with this Order. At the time the
          Certification is filed with the court, a copy of the Certification shall be sent to the Chapter
          13 Trustee, the Debtors, and the Debtors’ attorney.
          If the bankruptcy case is dismissed, or if the automatic stay is vacated, the filing of a
          new bankruptcy case will not act to impose the automatic stay against the Secured
          Creditor’s opportunity to proceed against its Collateral without further Order of the
          Court.

5.    Award of Attorneys’ Fees:
          9 The Applicant is awarded attorneys fees of $350.00, and costs of $181.00.
             The fees and costs are payable:
          9 through the Chapter 13 plan.
            to the Secured Creditor within __________ days.
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          Attorneys’ fees are not awarded.
